              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
                            2:10cr14-5

UNITED STATES OF AMERICA,       )
                                )
Vs.                             )                          ORDER
                                )
JASMINE MICHELLE LITTLEJOHN. )
_______________________________ )

      THIS MATTER is before the court on defendant’s Motion for Bereavement

Release. With the concurrence of the government, the court finds as an exceptional

circumstance under 18, United States Code, Section 3145(c)warranting defendant’s

temporary release the death of defendant’s infant child and the need for defendant’s

presence during the entirety of the memorial services for her child as such is part of

a religious and cultural practice observed by defendant and the Eastern Band of

Cherokee Indians, of which she is an enrolled member.

       The parties are in agreement, and the court has approved, defendant’s

temporary release to the custody of the Chief of Police of the Eastern Band of

Cherokee Indians, and his designees, beginning Friday, January 14, 2011, at 9 a.m.,

and being returned to the custody of the United States Marshal c/o the Sheriff of

Cherokee County, North Carolina, by 9 p.m. on Saturday, January 15, 2011. During

such period, the Chief of Police and his designee shall exercise complete professional



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discretion in determining the conditions of defendant’s release; however, the Chief of

Police shall give great deference to the cultural and religious requirements defendant

may have during the bereavement process.



                                      ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion for Bereavement

Release (#88) is GRANTED, and defendant is released to the custody of the Chief of

Police of the Eastern Band of Cherokee Indians as herein provided.




                                          Signed: January 13, 2011




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